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 4                                  UNITED STATES DISTRICT COURT
 5                                          DISTRICT OF NEVADA
 6                                                       ***
 7      UNITED STATES OF AMERICA,                                  Case No. 2:17-cr-0306-JCM-PAL
 8                                               Plaintiff,                    ORDER
               v.
 9                                                                (Mot Temp Mod Rel – ECF No. 396)
        JOHN TELUSMA,
10
                                               Defendant.
11

12            Before the court is defendant John Telusma’s Motion for Temporary Modification of
13     Conditions of Release (ECF No. 396). No opposition to the motion has been filed and the time
14     for filing an opposition has expired.
15            Telusma is requesting permission to purchase a car on credit so that he can support himself
16     by working as a driver for rideshare companies such as Uber and Lyft. Telusma currently has a
17     condition that he “shall not obtain new bank accounts or lines of credit.” Telusma is willing to
18     provide the court, Pretrial Services and or the United States with any records used to purchase the
19     vehicle to verify that he is using his own personal identifiers in the loan documents. Telusma’s
20     counsel indicates that Pretrial Services Officer Ron Pease has no opposition to the request.
21            The court contacted Pretrial Services Officer Ron Pease, who in turn reached out to Pretrial
22     Services Officer Misty Sanches in Reno, Nevada, and Pretrial Services in the Eastern District of
23     New York who is actually supervising Telusma. Although Pretrial Services does not object to the
24     request, they request copies of the initial loan application as well as the final loan documents.
25            Having reviewed and considered the matter,
26            IT IS ORDERED:
27            1.    Telusma’s Motion for Temporary Modification of conditions of Release (ECF No.
28                  396) is GRANTED.
                                                              1
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 1           2. Telusma shall promptly provide copies of the initial application, supporting statements

 2              and financial information and the final loan documents to his supervising Pretrial

 3              Services officer in the Eastern District of New York, who shall in turn provide them to

 4              Pretrial Services Officer Misty Sanchez, upon request.

 5           DATED this 6th day of June, 2018.

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                                                          PEGGY A. LEEN
 7                                                        UNITED STATES MAGISTRATE JUDGE
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